
PER CURIAM.
At the hearing on Robert F. Cantley, Jr.’s petition for benefits alleging psychiatric permanent and total disability caused by accidents occurring on October 15, 1991, and November 29, 1996, the judge of compensation claims excluded the depositions given by Dr. Zumarraga. This was error. Mr. Cantley is entitled to a determination on the merits of his claim for permanent and total disability benefits, a claim which has never previously been adjudicated. The judge of compensation claims should consider all evidence relevant to the claim, including Dr. Zumarra-ga’s depositions.
REVERSED and REMANDED.
KAHN, BENTON, and VAN NORTWICK, JJ., concur.
